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1    Peter F. Jazayeri (SBN 199626)
     JAZ, A PROFESSIONAL LEGAL CORPORATION
2    peter@jaz-law.com
     1100 Glendon Avenue, Suite 1500
3    Los Angeles, CA 90024
     Telephone:     310.853-2529
4    Facsimile:     310.388.0664

5    Proposed Attorneys for Receiver
     CORDES & COMPANY, LLC THROUGH
6    AND BY BELLANN RAILE

7

8                        UNITED STATES BANKRUPTCY COURT

9             CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

10   In re                                    Case No. 8:21-bk-10525-ES
11   THE SOURCE HOTEL, LLC,                   Chapter 11
12                          Debtor.           STIPULATION AMONG DEBTOR,
                                              RECEIVER, AND CREDITOR SHADY
13                                            BIRD LENDING, LLC AUTHORIZING
                                              RECEIVER TO EMPLOY ATTORNEY
14                                            AND TO OBTAIN RELIEF FROM STAY
                                              FOR THE LIMITED PURPOSE OF
15                                            AUTHORIZING RECEIVER TO SEEK
                                              APPROVAL FROM STATE COURT TO
16                                            RETAIN RECEIVERSHIP COUNSEL
17
                                              [Notice of Motion and Motion For Relief From
18                                            Automatic Stay (Action in Non-Bankruptcy
                                              Forum) F-4001-RFS, Declaration of Peter F.
19                                            Jazayeri, and Supplemental Notice of Hearing
                                              To Be Held Remotely Using Zoom.Gov Audio
20                                            and Video Filed Concurrently Herewith]
21                                            Date: May 20, 2021
                                              Time: 10:00 AM
22                                            Place: Courtroom 5A
23

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1           Creditor and state-court plaintiff Shady Bird Lending, LLC (“Shady Bird”), debtor and state-

2    court defendant The Source Hotel, LLC (“Debtor”), and Cordes & Company, LLC through and by

3    Bellann Raile (“Receiver”) stipulate as follows:

4           1.      On or about February 8, 2021, Shady Bird filed its complaint against the Debtor in

5    the Superior Court of California, County of Orange (the “State Court”), commencing Case No. 30-

6    2021-01183489-CU-OR-CJC (the “State Court Action”).

7           2.      On February 17, 2021, the State Court entered an Order granting an Ex Parte Order

8    Appointing Receiver and Order To Show Cause And Temporary Restraining Order—Rents, Issues,
9    and Profits (“Receivership Order”), pursuant to which Receiver was appointed, and a receivership
10   estate was created. A true and correct copy of the Receivership Order is attached as Exhibit A to the
11   Declaration of Peter F. Jazayeri filed concurrently herewith (“Jazayeri Declaration”) and
12   incorporated herein by this reference.
13          3.      On or about, February 26, 2021, the Debtor filed a voluntary petition under Chapter
14   11 of Title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy
15   Court for the Central District of California, Santa Ana Division (the “Bankruptcy Court”) as Case
16   No. 8:21-bk-10525-ES (the “Bankruptcy Case”).
17          4.      On or about March 25, 2021, Shady Bird filed a Motion for Order Excusing State
18   Court Receiver From Turnover of the Assets Pursuant to Bankruptcy Code section 543 in the

19   Bankruptcy Case (the “Excuse Turnover Motion”)           [Docket No. 51].     The Debtor filed an

20   Opposition to the Excuse Turnover Motion and supporting declarations [Docket Nos. 65-66], and

21   Shady Bird filed a reply and supporting declaration [Docket No. 72].

22          5.      Prior to the hearing on the Excuse Turnover Motion, the Receiver attempted to

23   resolve issues concerning her need for and employment of counsel, as set forth in paragraphs five

24   through ten of the Jazayeri Declaration. Shady Bird supported the hiring of counsel, but the Debtor

25   wanted to wait until after the Excuse Turnover Motion was heard.

26          6.      On April 15, 2021, the Bankruptcy Court held a hearing on the Excuse Turnover

27   Motion and granted it on an interim basis through June 3, 2021 (the “Interim Period”), thereby

28   allowing the Receiver to remain in place, pending a continued hearing on the Excuse Turnover


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1    Motion to be held in the Bankruptcy Court on June 3, 2021 at 2:00 p.m. in Courtroom 5A. Pursuant

2    to the Order, After Hearing, Granting On An Interim Basis, Motion of Shady Bird Lending, LLC For

3    Order Excusing State Court Receiver From Turnover of Assets Pursuant to 11 U.S.C. § 543 (the

4    “Interim Excuse Turnover Order”), Shady Bird is authorized, in its sole discretion, to advance an

5    amount no greater than $200,000 (the “Gifted Advance”) to the Receiver to be used by the Receiver,

6    in her sole discretion, to remediate, repair, and fix issues at the Project (as defined in the Excuse

7    Turnover Motion), provided that the Receiver shall provide timely written notice by e-mail to

8    bankruptcy counsel for the Debtor.
9           7.      In the event of a bankruptcy filing, Paragraph 27(d) of the Receivership Order
10   provides that “the receiver may petition the court to retain legal counsel to assist the receiver with
11   issues arising out of the bankruptcy proceedings that affect the receivership.” Shady Bird, the Debtor
12   and the Receiver (collectively, the “Parties”) agree that, under applicable law, the Receiver is
13   entitled to employ counsel when necessary, including as part of her duties to perform an accounting,
14   submit herself to inquiry, or protect against attack by those beneficially interested in the estate.
15          8.      The Parties agree that, under applicable law, the factors for determining the
16   reasonableness of a receiver’s compensation pursuant to Bankruptcy Code section 543 are similar to
17   those used in considering other attorneys' fees and include: the time and labor expended by the
18   custodian; the benefit of the custodian's services to the debtor and the estate; the size and/or

19   complexity of the estate; what the custodian would have received if he or she had been appointed as

20   trustee for the debtor, and the quality of the custodian's services.

21          9.      During the Interim Period, the Receiver requires counsel to maintain her

22   independence and protect the sanctity of the receivership estate, to represent the Receiver’s interests

23   with respect to the performance of the Receiver’s powers, rights, and duties as required in

24   accordance with the Receivership Order, the California Rules of Court, and the Bankruptcy Code, as

25   well as to advise and protect the Receiver against any challenges to the Receiver’s authority or

26   handling of the receivership estate pending resolution of the Excuse Turnover Motion. In addition,

27   if the Excuse Turnover Motion is later denied, the Receiver will need an attorney to help her comply

28   with the obligations of Bankruptcy Code section 543, which governs the Receiver’s duties to


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1    turnover receivership property to the debtor-in-possession and file an accounting and report pursuant

2    to Bankruptcy Code section 543(b)(2) and Federal Rule of Bankruptcy Procedure 6002.

3           10.     While the Receiver may be entitled to employ counsel without a retention order in

4    bankruptcy, in an abundance of caution, and to avoid any conflicts between the Receivership Order

5    and the requirements of the Bankruptcy Code, the Receiver requested that the Parties enter into this

6    stipulation consenting to her hiring of counsel and granting her relief from stay for the sole purpose

7    of obtaining approval in the State Court Action to hire such counsel.

8           WHEREFORE, based on the foregoing paragraphs, Shady Bird, the Debtor, and Receiver
9    respectfully request that the Court enter an order:
10          (i)     approving this stipulation;
11          (ii)    lifting the automatic stay set forth in 11 U.S.C. § 362 for the sole purpose of
12   authorizing the Receiver to obtain approval from the State Court to employ Peter Jazayeri of Jaz, A
13   Professional Legal Corporation (“Attorney”) as her attorney, pursuant to the terms of the
14   engagement letter attached as Exhibit “H” to the Jazayeri Declaration, subject to all Bankruptcy
15   Code requirements;
16          (iii)   Shady Bird, the Debtor, and the Receiver acknowledge and agree that all parties,
17   including, the Debtor, the Office of the U.S. Trustee, creditors of the Debtor, and other parties in
18   interest in the Debtor’s bankruptcy case, reserve all of their rights to object to the reasonableness of

19   any fees incurred by the Receiver and the Receiver’s Attorney, and that the Receiver and Receiver’s

20   Attorney reserve all of their rights and defenses to respond to any such objection; and

21          (iv)    granting such other and further relief as the Court deems just and appropriate under

22   the circumstances.
23   DATED: April 27, 2021                    JAZ, A PROFESSIONAL LEGAL CORPORATION
24

25                                            By:
                                                  Peter F. Jazayeri
26                                            Proposed Attorneys for Receiver
                                              CORDES & COMPANY, LLC BY AND THROUGH
27                                            BELLANN RAILE
28


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1
     DATED: April 27, 2021               CORDES & COMPANY, LLC BY AND
2                                        THROUGH BELLANN RAILE
3

4                                        By:
                                             Bellann Raile
5                                        Receiver
6
     DATED: April ___, 2021              LAW OFFICES OF RONALD RICHARDS &
7                                        ASSOCIATES, APC
8
9                                        By:
                                             Ronald Richards
10                                       Attorneys for
                                         SHADY BIRD LENDING LLC
11

12   DATED: April ___, 2021              SULMEYERKUPETZ, A PROFESSIONAL
                                         CORPORATION
13
                                         By:
14                                           Daniel A. Lev
                                         Attorneys for
15                                       SHADY BIRD LENDING LLC
16

17   DATED: April 26, 2021              LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
18
                                        By:
19                                          Juliet Y. Oh
                                        Attorneys for Debtor
20                                      THE SOURCE HOTEL, LLC
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                                       /s/Ronald Richards
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1
     DATED: April ___, 2021              CORDES & COMPANY, LLC BY AND
2                                        THROUGH BELLANN RAILE
3

4                                        By:
                                             Bellann Raile
5                                        Receiver
6
     DATED: April ___, 2021              LAW OFFICES OF RONALD RICHARDS &
7                                        ASSOCIATES, APC
8
9                                        By:
                                             Ronald Richards
10                                       Attorneys for
                                         SHADY BIRD LENDING LLC
11

12   DATED: April ___, 2021              SULMEYERKUPETZ, A PROFESSIONAL
                                         CORPORATION
13
                                         By:
14                                           Daniel A. Lev
                                         Attorneys for
15                                       SHADY BIRD LENDING LLC
16

17   DATED: April 26, 2021              LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
18

19

20                                      By:
21                                          Juliet Y. Oh
                                        Attorneys for Debtor
22                                      THE SOURCE HOTEL, LLC

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is: 1100 Glendon Avenue, Suite 1500, Los Angeles, CA 90024.

A true and correct copy of the foregoing document entitled (specify): STIPULATION AMONG DEBTOR,
RECEIVER, AND CREDITOR SHADY BIRD LENDING, LLC AUTHORIZING RECEIVER TO EMPLOY
ATTORNEY AND TO OBTAIN RELIEF FROM STAY FOR THE LIMITED PURPOSE OF AUTHORIZING
RECEIVER TO SEEK APPROVAL FROM STATE COURT TO RETAIN RECEIVERSHIP COUNSEL will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b)
in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On April 28, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
the email addresses stated below:

                                                             Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On April 28, 2021, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                  Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
(state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on April 28,
2021, I served the following persons and/or entities by personal delivery, overnight mail service, or (for those
who consented in writing to such service method), by facsimile transmission and/or email as follows. Listing
the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.


                                                                                  Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 28, 2021                         Toni Gesin
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                      ATTACHMENT TO F 9013-3.1.PROOF.SERVICE

Via NEF

    •   Attorney for Debtor: Ron Bender rb@lnbyb.com
    •   Michael G Fletcher mfletcher@frandzel.com, sking@frandzel.com
    •   Amir Gamliel amir-gamliel-9554@ecf.pacerpro.com,
        cmallahi@perkinscoie.com;DocketLA@perkinscoie.com
    •   Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
    •   Attorney for U.S. Trustee: Nancy S Goldenberg nancy.goldenberg@usdoj.gov
    •   Attorney for Receiver in State Court: Peter F Jazayeri peter@jaz-law.com
    •   Attorney for Shady Bird: Daniel A Lev dlev@sulmeyerlaw.com,
        ccaldwell@sulmeyerlaw.com;dlev@ecf.inforuptcy.com
    •   Grant A Nigolian grant@gnpclaw.com, process@gnpclaw.com;grant.nigolian@gmail.com
    •   Attorney for Debtor: Juliet Y Oh jyo@lnbrb.com, jyo@lnbrb.com
    •   Ho-El Park hpark@hparklaw.com
    •   Attorney for Shady Bird: Ronald N Richards ron@ronaldrichards.com,
        morani@ronaldrichards.com
    •   United States Trustee (SA): ustpregion16.sa.ecf@usdoj.gov

Via U.S. Mail

  The Source Hotel (Debtor)                                                    Ted Sul (Creditor)
  6988 Beach Boulevard, Suite B-215                                            Newgens, Inc.
  Buena Park, CA 90621                                                         14241 Foster Road
                                                                               La Mirada, CA 90638

  Rachel Castro (Creditor)                                                     Solid Construction Company, Inc. (Creditor)
  Cabrillo Hoist                                                               883 Crenshaw Blvd.
  P.O. Box 3179                                                                Los Angeles, CA 90005
  Rancho Cucamonga, CA 91729

  WESCO Distribution, Inc. (Creditor)                                          Harbor All Glass & Mirror, Inc. (Creditor)
  6251 Knott Ave.                                                              1926 Placentia Ave.
  Buena Park, CA 90620                                                         Costa Mesa, CA 92627

  Edward Riggs (Creditor)                                                      Ace Tek Roofing Co. (Creditor)
  Diablo Consulting                                                            747 S. Ardmore Ave., Ste. 405
  13200 Crossroads Parkway N, Ste. 115                                         Los Angeles, CA 90005
  City of Industry, CA 91746

  Briana Ochoa (Creditor)                                                      Evergreen Electric Construction, Inc. (Creditor)
  Morrow Meadows                                                               629 Grove View Lane
  231 Benton Court                                                             La Canada, CA 91011
  City of Industry, CA 91789


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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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  Steve Ruck (Creditor)                                                        Stumbaugh & Associates, Inc. (Creditor)
  Chefs Toys                                                                   3303 N. San Fernando Blvd.
  18430 Pacific Street                                                         Burbank, CA 91504
  Fountain Valley, CA 92708

  HBA Procurement, Inc. (Creditor)                                             Roger J. Fugit (Creditor)
  3216 Nebraska Ave.                                                           OJ Insulation LP
  Santa Monica, CA 90404                                                       600 S. Vicent Ave.
                                                                               Azusa, CA 91702

  DKY Architects (Creditor)                                                    Dooman Jun (Creditor)
  15375 Barranca Parkway, Suite A-210                                          Master Glass
  Irvine, CA 92618                                                             2225 W. Pico Blvd., Unit C
                                                                               Los Angeles, CA 90006

  Cecilia Dinh (Creditor)                                                      L2 Specialties (Creditor)
  Universal Flooring Systems                                                   3613 W. Macarthur Blvd., #611
  15573 Commerce Lane                                                          Santa Ana, CA 92704
  Huntington Beach, CA 92649

  Ficcadenti Waggoner (Creditor)                                               Retrolock Corporation (Creditor)
  16969 Von Karman Ave., Ste. 240                                              17915 Railroad St.
  Irvine, CA 92606                                                             City of Industry, CA 91748

  American Engineering Laboratories, Inc. (Creditor)                           Christopher G. Cardinale
  P.O. Box 1816                                                                Alvarez-Glasman & Colvin
  Whittier, CA 90609                                                           13181 Crossroads Pkwy N, Ste 400
                                                                               City of Industry, CA 91746

Via Overnight Delivery

Honorable Erithe A. Smith
US Bankruptcy Court – Santa Ana Division
Ronald Reagan Federal Building
411 West 4th Street, #5040
Santa Ana, CA 92701




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
